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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                            June 16, 2023
                                                                         Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        FIRST BANK OF THE      § CIVIL ACTION NO
        LAKE,                  § 4:23-cv-00927
                    Plaintiff, §
                               §
                               §
             vs.               § JUDGE CHARLES ESKRIDGE
                               §
                               §
        AIR TRANSPORT          §
        NETWORK LLC, et al,    §
                 Defendants. §

                      MINUTE ENTRY AND ORDER

           Minute entry for INITIAL CONFERENCE before Judge
       Charles Eskridge by video conference on June 14, 2023. All
       parties represented by counsel.
           The Court addressed the scheduling and docket control
       order and the joint discovery/case management plan.
       Dkts 23 & 31.
           It was noted that an agreed preliminary injunction had
       entered in this case, which included a provision preventing
       Plaintiff First Bank of the Lake from selling the subject
       aircraft without permission from the Court. See Dkt 20.
           First Bank expressed possible intention to seek an
       order allowing it to sell the aircraft.
           First Bank was GRANTED LEAVE to file a motion seeking
       permission to sell the subject aircraft. Any such filing must
       be made by July 12, 2023, absent further order extending
       such deadline.
           The parties also reported that settlement discussions
       had been fruitful to date.
           It was ORDERED that the parties file a joint status
       report on settlement by July 12, 2023. First Bank may
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       there seek extension of the deadline to file any motion, if
       desired, and the parties may jointly request alteration of
       any other deadlines.
           It is ORDERED that (i) no continuance will be granted
       absent a showing of actual diligence and extraordinary
       cause, and (ii) discovery failures may result in the striking
       of evidence, dismissal of claims, or the striking of defenses.
           The parties should continue to confer in good faith
       regarding discovery and settlement.
           SO ORDERED.


           Signed on June 14, 2023, at Houston, Texas.



                                  __________________________
                                  Hon. Charles Eskridge
                                  United States District Judge




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